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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



In re TERRORIST ATTACKS ON                                   Case No. 1:03-md-01570-GBD-SN
SEPTEMBER 11, 2001


This document relates to :

The Underwriting Members of Lloyd's
Syndicate 2, et al. v. Al Rajhi Bank, et al., No.
16-cv-7853; Aguilar, et al. v. Kingdom of
Saudi Arabia, et al., No. 16-cv-09663;
Addesso, et al. v. Kingdom of Saudi Arabia, et
al., No. 16-cv-09937; Hodges, et al. v.
Kingdom ofSaudi Arabia, et al., No. 17-cv-
0117; Aiken, et al. v. Kingdom ofSaudi Arabia,
et al., No. 17-cv-00450; Charter Oak Fire
Insurance Co., et al. v. Al Rajhi Bank, et al.,
No. 17-cv-02651; Abarca, et al., v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03887;
Arrowood Indemnity Co., et al. v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03908; and
Abedhajajreh, eta!., v. Kingdom of Saudi
Arabia, et al., No. 17-cv-06123.



                AFFIDAVIT IN SUPPORT OF MOTION FOR ADMISSION
                   OF MATTHEW S. LEDDICOTTE PRO HAC VICE

       I, Matthew S. Leddicotte, make this affidavit in support of the motion for my admission

to appear and practice in this Court in the above-captioned matters as counsel Pro Hac Vice for

Defendant Al Rajhi Bank.

       I, MatthewS. Leddicotte, being duly sworn, do hereby depose and say as follows:

               1. I have never been convicted of a felony.

               2. I have never been censured, suspended, disbarred or denied admission or

               readmission by any court.
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              3. There are no disciplinary proceedings presently against me.

              4. My current certificate of good standing from the District of Columbia is

              attached.

       I certify and attest, under penalty of perjury as prescribed in 28 U.S.C. § 1746 that the

foregoing statements made by me are true. I am aware that if any of the foregoing statements

made by me are false, I am subject to punishment.


Dated: August 21, 2017
       Washington, DC                               Matthew S. Leddicotte
                                                    WHITE & CASE LLP
                                                    701 Thirteenth Street, NW
                                                    Washington, DC 20005
                                                    Telephone:    +1 202 626 3600
                                                    Facsimile:    +1 202 639 9355
                                                    mleddicotte@whi tecase. com


Sworn to and subscribed before me this 21st day of August 2017 .



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                                                    District of Columbia

                                                    My commission expires _ _ __ __ _




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